   Case 2:20-cv-09388-CAS-PD Document 137-13 Filed 09/16/22 Page 1 of 3 Page ID #:415

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

                         Yalcin Ayasli                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:20-cv-09388-CAS-PD
                                                                     )
    Sezgin Baran Korkmaz, et al. (See attachment)                    )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SBK Turkey
                                           SarÕyer Reúitpaúa Mah. Eski Büyükdere Cad. No: 14 K: 9 / B Maslak Istanbul, Turkey




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Kevin M. Lally, Esq.                      Robert H. Miller, Esq.
                                           355 S. Grand Avenue, Suite 4200    1000 Elm Street, 17th Floor
                                           Los Angeles, CA 90071              Manchester, NH 03110




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
    Case 2:20-cv-09388-CAS-PD Document 137-13 Filed 09/16/22 Page 2 of 3 Page ID #:416

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-09388-CAS-PD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
Case
Case 2:20-cv-09388-CAS-PD
     2:20-cv-09388-CAS-PD Document
                          Document 137-13
                                   131 Filed
                                          Filed
                                             09/01/22
                                                09/16/22Page
                                                          Page
                                                             1 of3 193
                                                                   of 3 Page
                                                                        Page ID
                                                                              ID #:157
                                                                                 #:417




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       Manchester, NH 03110
     8
       603-627-8145
     9 rmiller@sheehan.com
   10
                            UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
   12
         Yalcin Ayasli,                          CASE NO. 2:20-cv-09388-CAS-PD
   13
                           Plaintiff,
   14
               v.                                VERIFIED FIRST AMENDED
   15                                            COMPLAINT
         Sezgin Baran Korkmaz; Lev Aslan
   16    Dermen; Jacob Ortell Kingston; Isaiah
         Elden Kingston; Fatih Akol; Kamil
   17    Feridun Ozkaraman; Washakie
         Renewable Energy, LLC; SBK
   18    Holdings A. S., Inc.; SBK Holdings
         USA, Inc.; Bugaraj Elektronik Ticaret
   19    ve Bilisim Hizmetleri A.S.; Mega      JURY TRIAL DEMANDED
         Varlik Yonetim A.S.; Alptekin Yilmaz;
   20    Olessia Zoubkova; Bukombin Bilisim
         ve Teknoloji Anonim Sirketi; Noil
   21    Energy Group, Inc.; Speedy Lion
         Renewable Fuel Investments, LLC;
   22    G.T. Energy, LLC; United Fuel Supply,
         LLC; Isanne, Biofarma Ilac Sanayi ve
   23    Ticaret A.S.; Blane Teknoloji
         Sistemleri Sanayi Ve Ticaret Anonim
   24    Sirketi; Stone Isi Yalitim Sanayi Ve
         Ticaret Anonim Sirketi; and Komak Isi
   25    Yalitim Sistemleri;
   26                      Defendants.
   27
   28

                                 VERIFIED FIRST AMENDED COMPLAINT
                                          Attachment
